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                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MICHIGAN

In re:                                 )                              Chapter 11
                                       )
BARFLY VENTURES, LLC, et al.,1         )                              Case No. 20-01947-jwb
                                       )
                  Debtors.             )                              Jointly Administered
_______________________________________)

    ORDER GRANTING APPLICATION OF GORDON FOOD SERVICE, INC. FOR
     ALLOWANCE AND PAYMENT OF ADMINISTRATIVE PRIORITY CLAIM

         THIS MATTER having come before the Court on the APPLICATION OF GORDON

FOOD SERVICE, INC. FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE

PRIORITY CLAIM (the “Application”), for good cause shown, the application is hereby

GRANTED.

         IT IS HEREBY ORDERED that GFS is allowed administrative claims (the “503(b)(9)

Claims”) against the following Debtors’ estates in following amounts:

                Debtor                                                            Amount
                9 Volt, LLC                                                       $3,400.42
                Hopcat-Kalamazoo, LLC                                             $51.56
                Hopcat-GR Beltline, LLC                                           $500.76
                50 Amp Fuse, LLC                                                  $8.54
                GRBC Holdings, LLC                                                $70.90
                El Brewpub, LLC                                                   $23.54
                Hopcat-Indianapolis, LLC                                          $52.04
                Total                                                             $4,107.76




1
  The Debtors and the last four digits of their federal employment identification number are: Barfly Ventures, LLC
(8379); 9 Volt, LLC (d/b/a HopCat) (1129); 50 Amp Fuse, LLC (d/b/a Stella’s Lounge) (3684); GRBC Holdings,
LLC (d/b/a Grand Rapids Brewing Company) (2130); E L Brewpub, LLC (d/b/a HopCat East Lansing) (5334);
HopCat-Ann Arbor, LLC (5229); HopCatChicago, LLC (7552); HopCat-Concessions, LLC (2597); HopCat-Detroit,
LLC (8519); HopCatGR Beltline, LLC (9149); HopCat-Holland, LLC (7132); HopCat-Indianapolis, LLC (d/b/a
HopCat-Broad Ripple) (7970); HopCat-Kalamazoo, LLC (8992); HopCat-Kansas City, LLC (d/b/a HopCat,-KC,
LLC and Tikicat) (6242); HopCat-Lexington, LLC (6748); HopCat-Lincoln, LLC (2999); HopCat-Louisville, LLC
(0252); HopCat-Madison, LLC (9108); HopCatMinneapolis, LLC (8622); HopCat-Port St. Lucie, LLC (0616);
HopCat-Royal Oak, LLC (1935); HopCat-St. Louis, LLC (6994); Luck of the Irish, LLC (d/b/a The Waldron Public
House, LLC and McFadden’s Restaurant Saloon) (4255).
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 The 503(b)(9) Claims shall be paid at the earliest date and at the same percentage as any other

 allowed administrative claims of equal priority against the Debtors’ estates.

                                         END OF ORDER




 PREPARED BY:

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 Counsel for Gordon Food Service, Inc.




IT IS SO ORDERED.

Dated October 13, 2020
